Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 1 of 14




                    Exhibit 16
Sent:    Wed 12/28/2022 3:36:22 PM (UTC)
From:              Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 2 of 14
         putze@google.com
To:      tamarf@google.com, putze@google.com
Subject: itmXkgAAAAE-MBI-FLAT:2022-12-27T20:36:21.292175
Screenshot 20221230-114131.png
Screenshot 20221230-114413.png


putze@google.com 2022-12-28T15:36:21.292Z

 hi yt

 tamarf@google.com 2022-12-29T00:04:41.668Z

 Hi Emily.

 tamarf@google.com 2022-12-29T00:05:06.562Z

 Thank you for doing that write up for Purnima, Greg..etc.

 tamarf@google.com 2022-12-29T00:05:17.537Z

 We are waiting for a redline from ABK

putze@google.com 2022-12-29T00:16:21.280Z

 No problem-- just wanted everyone to be ready

putze@google.com 2022-12-29T00:19:32.053Z

 i added sameer just to be prudent, in case any one escalates to him without warning

 tamarf@google.com 2022-12-29T00:22:24.570Z

 I feel like they are stalling now..we have been waiting for a redline but its getting hard to see how this signs by end of year
 at this point

putze@google.com 2022-12-29T00:43:05 .568Z

 yeah i agree

putze@google.com 2022-12-29T00:43:16.935Z

 i think its going to be a stall + a demand for exec call

putze@google.com 2022-12-29T02:52:19.332Z

 has this ruined your vacay

putze@google.com 2022-12-29T02:52:24.729Z

 where are you now

putze@google.com 2022-12-29T02:52:27.441Z

 i hope not

 tamarf@google.com 2022-12-29T02:53:11.448Z

 I am in singapore


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tamarf@google.com 2022-12-29T02:53:50.717Z
                Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 3 of 14
Ruined is too strong but close

putze@google.com 2022-12-29T03:02:01.643Z

im so sorry

tamarf@google.com 2022-12-29T03:02:27.966Z

We just got a new redline

putze@google.com 2022-12-29T03:02:35.308Z

how bad

tamarf@google.com 2022-12-29T03:03:02.783Z

I am out right now but as soon as I can get back to my computer I will share with you

putze@google.com 2022-12-29T03:03:26.191Z

ok thx

putze@google.com 2022-12-29T03:13:26.266Z

when are you getting on this call?

putze@google.com 2022-12-29T03:13:48.082Z

im happy to join but its getting late so just trying to gauge timing

tamarf@google.com 2022-12-29T03:31:53.961Z

Hey. I am heading back to my hotel and will share the doc. Right now I asked Karen to set up a call with us in a time
convenient for her. my fear is that she will just push it through

putze@google.com 2022-12-29T03:39:29.454Z

i can join but karan cant until later

putze@google.com 2022-12-29T03:39:39.201Z

i have the doc and have a POV

putze@google.com 2022-12-29T04:05:15 .201Z

lmk when back

putze@google.com 2022-12-29T04:44:58.570Z

saw the copy

putze@google.com 2022-12-29T04:45:02.866Z

can leave comments

putze@google.com 2022-12-29T04:45:06.776Z

when are you and karen connecting
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                     GOOG-PLAY5-000389030
tamarf@google.com 2022-12-29T04:46:08.195Z
                Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 4 of 14
hey. we were chatting with Karan (you are on the thread) about meeting at 9am pacific tomorrow

tamarf@google.com 2022-12-29T04:46:20.467Z

or today I am not sure what time it is where you are   •
putze@google.com 2022-12-29T04:46:27.111Z

1045 pm

tamarf@google.com 2022-12-29T04:46:30.306Z

are you in Chicago or west coast?

putze@google.com 2022-12-29T04:46:36.365Z

isnt that CRAZY late for you?

tamarf@google.com 2022-12-29T04:46:54.928Z

yea but at least my family will be asleep so I can still do stuff with them

tamarf@google.com 2022-12-29T04:46:58.827Z

before

putze@google.com 2022-12-29T04:47:29.595Z

ugh tamar, im so sorry-- ive played this game 1M times

putze@google.com 2022-12-29T04:47:39.547Z

working when others are asleep and trying to make it all work

tamarf@google.com 2022-12-29T04:48:04.308Z

I know. I feel for you with your little ones.

tamarf@google.com 2022-12-29T04:48:15.586Z

but it all feels bad when this deal is so terrible

putze@google.com 2022-12-29T04:48:20.162Z

100%

tamarf@google.com 2022-12-29T04:48:28.602Z

I told Karen honestly I felt like we were giving gives and not getting anything in return

putze@google.com 2022-12-29T04:48:35.887Z

did she acknowledge?

putze@google.com 2022-12-29T04:48:42.666Z

i couldnt agree more FWIW


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tamarf@google.com 2022-12-29T04:48:44.525Z
                Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 5 of 14
she said -- well if the gives don't matter to us and we get closer then why not?

putze@google.com 2022-12-29T04:48:51.376Z

jesus

putze@google.com 2022-12-29T04:48:58.705Z

problem is, everything thats left matters

tamarf@google.com 2022-12-29T04:49:07.492Z

                               REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:49:13.527Z

100%

putze@google.com 2022-12-29T04:49:18. 780Z

they think everything is a bluff

putze@google.com 2022-12-29T04:49:26.748Z

they think everything is debatable

putze@google.com 2022-12-29T04:49:29.565Z

we lose our footing

putze@google.com 2022-12-29T04:50:24.145Z

on the issues left, I think Play execs will say 1) hold line on B* penalties (their response of the $5M extra in marketing once
they launch B* is ridiculous and negated if they dont deliver on b*)

tamarf@google.com 2022-12-29T04:50:36.779Z


                                   REDACTED - PRIVILEGE
tamarf@google.com 2022-12-29T04:50:50.067Z

            REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:51:06.154Z

                                            REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:51:14.264Z

                REDACTED - PRIVILEGE

tamarf@google.com 2022-12-29T04:51:23.476Z

yea.

putze@google.com 2022-12-29T04:51:28.441Z


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    REDACTED -Case
               PRIVILEGE
                   3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 6 of 14
putze@google.com 2022-12-29T04:51:32.287Z

 REDACTED - PRIVILEGE

tamarf@google.com 2022-12-29T04:51:33.168Z

I know

tamarf@google.com 2022-12-29T04:51:50.958Z

                       REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:51:52.016Z

they are throwing issues on table that arent real issues to look like they are giving

putze@google.com 2022-12-29T04:52:00.884Z

but the real issues are left

tamarf@google.com 2022-12-29T04:52:15.958Z

yea.

putze@google.com 2022-12-29T04:52:21.204Z

                 REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:52:31.792Z

            REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:52:36.285Z

REDACTED - PRIVILEGE

tamarf@google.com 2022-12-29T04:52:52.009Z

       REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:52:57.951Z

(btw i didnt share that email w karen )

tamarf@google.com 2022-12-29T04:52:58.574Z

I am worried about introducing that

putze@google.com 2022-12-29T04:53:00.764Z

(not yet)

putze@google.com 2022-12-29T04:53:20.428Z

                           REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:53:24.606Z


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REDACTED - PRIVILEGE
                  Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 7 of 14
putze@google.com 2022-12-29T04:53:52.512Z


                               REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:54:48.865Z

REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:55:29.737Z

                        REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:55:45.079Z

                       REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:55:48.709Z

its BS

tamarf@google.com 2022-12-29T04:56:49.256Z

                                   REDACTED - PRIVILEGE
tamarf@google.com 2022-12-29T04:57:06.890Z

 REDACTED - PRIVILEGE

putze@google.com 2022-12-29T04:57:09.761Z

         REDACTED - PRIVILEGE

tamarf@google.com 2022-12-29T04:57:15.321Z

i know

putze@google.com 2022-12-29T04:57:15.927Z

REDACTED - PRIVILEGE


putze@google.com 2022-12-29T04:57:24.900Z

i see

putze@google.com 2022-12-29T04:57:54.321Z


                              REDACTED - PRIVILEGE
putze@google.com 2022-12-29T04:58:42.624Z

              REDACTED - PRIVILEGE
tamarf@google.com 2022-12-29T05:00:33.285Z

                                REDACTED -PRIVILEGE

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putze@google.comCase
                 2022-12-29T05:01:12.624Z
                     3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 8 of 14
ok thanks

putze@google.com 2022-12-29T05:01:41.508Z

more in a bit-- please keep backchanneling if you see things you dont agree with or think are suboptimal

putze@google.com 2022-12-29T05:01:54.993Z

we can double down when we jump on call

putze@google.com 2022-12-29T05:02:01.842Z

want me to see if karan can jump on an hour earlier?

tamarf@google.com 2022-12-29T05:04:08.102Z

                                    REDACTED - PRIVILEGE                                             am sure you guys know
that ultimately we have to (not only negotiate the definitive agreements which will not be fun) but also live with the
partnership for another 3 years(!)

putze@google.com 2022-12-29T05:07:48.916Z

ugh will all be brutal

putze@google.com 2022-12-29T16:14:02 .938Z

tamar-- we see the deal team trying to close up shop

putze@google.com 2022-12-29T16:15:04.758Z

we'll join call w karen in 15 mion

putze@google.com 2022-12-29T16:15:08.586Z

but we're going to push back

putze@google.com 2022-12-29T16:15:20.387Z

and ask that samer / don / p talk asap about holding the line on cirtical play issues

putze@google.com 2022-12-29T16:53:44.892Z

we're on with purnima

putze@google.com 2022-12-29T16:53:53.336Z

will go to group shortly

tamarf@google.com 2022-12-29T17:00:32.657Z

Okay!

tamarf@google.com 2022-12-29T17:04:43.992Z

Help

putze@google.com 2022-12-29T19:10:09.755Z


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•                   Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 9 of 14
tamarf@google.com 2022-12-29T20:12:16.033Z

Emily, I am confused about what Greg sent..

tamarf@google.com 2022-12-29T20:19:05.161Z

that is outdated wording..

tamarf@google.com 2022-12-29T20:19:09.484Z

ah well

putze@google.com 2022-12-29T23:58:44.316Z

the chromebooks marketing person is 000

putze@google.com 2022-12-29T23:58:51.510Z

so i dont think theres anything for us to do there

putze@google.com 2022-12-29T23:58:56.145Z

with the time we have left

putze@google.com 2022-12-30T00:02:06.997Z

so is his boss

tamarf@google.com 2022-12-30T00:02:55.148Z

Ok. Thanks for checking

tamarf@google.com 2022-12-30T00:05:53.411Z

                                   REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T00:06:05.933Z

                                          REDACTED - PRIVILEGE
putze@google.com 2022-12-30T00:24:57.707Z

thanks for telling me

tamarf@google.com 2022-12-30T00:28:55.121Z


                             REDACTED - PRIVILEGE
putze@google.com 2022-12-30T00:29:06.237Z

i cant understand where she's at right now

putze@google.com 2022-12-30T00:29:12 .205Z

and don is right beside her it seems

putze@google.com 2022-12-30T15:32:01.341Z
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                    GOOG-PLAY5-000389036
hey qq             Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 10 of 14
putze@google.com 2022-12-30T15:32:05.389Z

saw your email

putze@google.com 2022-12-30T15:32:19.716Z

               REDACTED - PRIVILEGE
putze@google.com 2022-12-30T15:32:25.174Z

   REDACTED - PRIVILEGE

putze@google.com 2022-12-30T15:32:29.184Z

 REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:33:24.749Z

             REDACTED - PRIVILEGE

tamarf@google.com 2022-12-30T15:33:57.222Z

                        REDACTED - PRIVILEGE

putze@google.com 2022-12-30T15:37:50.830Z

yeah
putze@google.com 2022-12-30T15:37:56.596Z

this is a unique case

putze@google.com 2022-12-30T15:38:07.049Z

                 REDACTED - PRIVILEGE
putze@google.com 2022-12-30T15:38:19.065Z

         REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:38:26.760Z

Yes

tamarf@google.com 2022-12-30T15:39:15.680Z

                         REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:39:36.657Z

         REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:40:49.676Z

But let me know..might have to loop in karen

putze@google.com 2022-12-30T15:43:51.698Z


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                                 REDACTED - PRIVILEGE
                       Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 11 of 14

putze@google.com 2022-12-30T15:44:27.398Z

                        REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:47:18.528Z



,,
   REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:47:51.003Z

                            REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T15:49:00.034Z

                                       REDACTED - PRIVILEGE

tamarf@google.com 2022-12-30T16:02:27.613Z


                                 REDACTED -PRIVILEGE
putze@google.com 2022-12-30T16:15:19.703Z

Asking Purnima

putze@google.com 2022-12-30T16:15:27.964Z

If she cares we should push

tamarf@google.com 2022-12-30T16:20:18.186Z

                                       REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:23:42.482Z

             REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:23:45.397Z

REDACTED - PRIVILEGE



putze@google.com 2022-12-30T16:24:21.544Z

 REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:24:27.854Z

REDACTED - PRIVILEGE


putze@google.com 2022-12-30T16:24:47.451Z

                           REDACTED - PRIVILEGE
 HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                       GOOG-PLAY5-000389038
putze@google.com 2022-12-30T16:24:57.512Z
               Case  3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 12 of 14
 REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:25:01.696Z

In*

putze@google.com 2022-12-30T16:25:51 .952Z

The Wall Street Journal
Xbox Boss Phil Spencer Wants to Sever Apple-Google
Oct 26, 2022

putze@google.com 2022-12-30T16:26:13.837Z

https://www.google.com/url?sa=t&source=web&rct=j&url=https://www.wsj.com/articles/xbox-boss-phil-spencer-wants-to-
sever-apple-google-duopoly-in-mobile-games-
11666817626&ved=2ahUKEwictoHk4KH8AhVKIUQIHVzoA3kQxfQBKAB6BAgHEAI&usg=A0vVaw05zH8qb1skwo
yzSMdq68-I

haps://www. google . com/url?sa=t&source=web&rct=j&url=https://www.wsj .c om/article s/xbox-boss-phil-sp enc er-want s-to-
sever-apple-google-duopoly-in-mobile-games-
11666817626&ved=2ahUKEwictoHk4KH8AhVKIUQIHVzoA3kQxfQBKAB6BAgHEAI&usg=A0vVaw05zH8qb1 skwo
yzSMdq68-I
putze@google.com 2022-12-30T16:36:00.594Z

                                      REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:36:07.219Z

REDACTED - PRIVILEGE


tamarf@google.com 2022-12-30T16:37:00.839Z

 REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T16:37:35.145Z

       REDACTED - PRIVILEGE
putze@google.com 2022-12-30T16:44:16.930Z

                               REDACTED - PRIVILEGE
putze@google.com 2022-12-30T17:38:50.811Z

Purnima said

putze@google.com 2022-12-30T17:41:40.138Z

Screenshot 20221230-114131.png
putze@google.com 2022-12-30T17:41:48.627Z

 REDACTED - PRIVILEGE

putze@google.com 2022-12-30T17:43:13.743Z


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i REDACTED - PRIVILEGE
                         Case 3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 13 of 14
putze@google.com 2022-12-30T17:44:21.032Z

Screenshot 20221230-114413.png
tamarf@google.com 2022-12-30T20:11:27.678Z

                                  REDACTED - PRIVILEGE
putze@google.com 2022-12-30T20:13:50.939Z

I can't I'm driving now

putze@google.com 2022-12-30T20:14:32.880Z

Purnima wanted me to check w you and kate

putze@google.com 2022-12-30T20:41:00.280Z

                 REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T20:42:37.585Z

I did

putze@google.com 2022-12-30T20:43:07.053Z

Did we want to try to do anything there

putze@google.com 2022-12-30T20:43:20.950Z

Per Purnima ping

tamarf@google.com 2022-12-30T20:43:33.451Z

   REDACTED - PRIVILEGE
putze@google.com 2022-12-30T20:44:51.242Z

Ok great

tamarf@google.com 2022-12-30T21:14:46.123Z



                         REDACTED - PRIVILEGE
tamarf@google.com 2022-12-30T21:31:13.643Z

                                     REDACTED - PRIVILEGE
putze@google.com 2022-12-30T21:31:25.004Z

Ok sorry I'm in car

putze@google.com 2022-12-30T21:31:33.535Z

I sent Karan all Purnima pings too

  HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY                                        GOOG-PLAY5-000389040
putze@google.com 2022-12-30T21:31:40.240Z
               Case  3:21-cv-05227-JD Document 360-17 Filed 03/27/23 Page 14 of 14
Is he available to help?




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